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    Diamond Select Toys & Collectibles, LLC                                                      Case No. 25-10312
    Balance Sheet                                                                               01/14/25 - 01/31/25


                                                                                         Diamond Select Toys &
                                                                                            Collectibles, LLC

    Assets
    Current Assets
      Cash and cash equivalents                                                                                 1,428
      Accounts Receivable, net                                                                                    994
      Inventory                                                                                             2,794,401
      Prepaids & Deposits                                                                                   2,023,153
    Total Current Assets                                                                                   4,819,976

    Other Current Assets                                                                                       23,147
    Total Assets                                                                                            4,843,123

    Liabilities
    Liabilities Not Subject to Comprimise
      Accounts Payable                                                                                       123,410
[1]   DIP Financing (Postpetition)                                                                        13,010,522
    Total Liabilities Not Subject to Comprimise                                                           13,133,932

    Liabilities Subject to Comprimise
      Prepetition Secured Debt                                                                            14,905,950
      Prepetition Priority Debt                                                                               34,898
      Prepetition Unsecured Debt                                                                           8,120,635
    Total Liabilities Subject to Comprimise                                                               23,061,483
    Total Liabilities                                                                                     36,195,415

    Total Equity                                                                                         (31,375,439)

[1] Pursuant DIP financing order, the Company’s prepetition revolving credit facility is being repaid on a dollar-for-
    dollar basis through the use of cash collateral, while a corresponding amount is drawn under the DIP facility.
